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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
 -----------------------------------------------------------X
 PEDRO MARTINEZ, Individually and as the
 representative of a class of similarly situated persons,
                                                                Case No. 24-cv-7011
                                          Plaintiff,

                          - against -
                                                                  CLASS ACTION COMPLAINT
 NORRONA SPORT, INC.,

                                            Defendant.
 -----------------------------------------------------------X


                                             INTRODUCTION

                 1. Plaintiff, Pedro Martinez (“Plaintiff” or “Martinez”), brings this action on behalf

of himself and all other persons similarly situated against Norrona Sport, Inc. (hereinafter

“Norrona” or “Defendant”), and states as follows:

                 2. Plaintiff is a visually-impaired and legally blind person who requires screen-

reading software to read website content using her computer. Plaintiff uses the terms “blind” or

“visually-impaired” to refer to all people with visual impairments who meet the legal definition of

blindness in that they have a visual acuity with correction of less than or equal to 20 x 200. Some

blind people who meet this definition have limited vision; others have no vision.

                 3. Based on a 2010 U.S. Census Bureau report, approximately 8.1 million people

in the United States are visually impaired, including 2.0 million who are blind, and according to



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the American Foundation for the Blind’s 2015 report, approximately 400,000 visually impaired

persons live in the State of New York.

               4. Plaintiff brings this civil rights action against Norrona for their failure to design,

construct, maintain, and operate their website to be fully accessible to and independently usable

by Plaintiff and other blind or visually-impaired persons. Defendant is denying blind and visually-

impaired persons throughout the United States with equal access to the goods and services Norrona

provides to their non-disabled customers through http//:www.Norrona.com (hereinafter

“Norrona.com” or “the website”). Defendant’ denial of full and equal access to its website, and

therefore denial of its products and services offered, and in conjunction with its physical locations,

is a violation of Plaintiff’s rights under the Americans with Disabilities Act (the “ADA”).

               5. Norrona.com provides to the public a wide array of the information, services,

and other programs offered by Norrona. Yet, Norrona.com contains thousands of access barriers

that make it difficult if not impossible for blind and visually-impaired customers to use the website.

In fact, the access barriers make it impossible for blind and visually-impaired users to even

complete a transaction on the website. Thus, Norrona excludes the blind and visually-impaired

from the full and equal participation in the growing Internet economy that is increasingly a

fundamental part of the common marketplace and daily living. In the wave of technological

advances in recent years, assistive computer technology is becoming an increasingly prominent

part of everyday life, allowing blind and visually-impaired persons to fully and independently

access a variety of services.

               6. The blind have an even greater need than the sighted to browse, shop and conduct

transactions online due to the challenges faced in mobility. The lack of an accessible website

means that blind people are excluded from experiencing transacting with defendant’s website.



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               7. Despite readily available accessible technology, such as the technology in use at

other heavily trafficked retail websites, which makes use of alternative text, accessible forms,

descriptive links, resizable text and limits the usage of tables and JavaScript, Defendant has chosen

to rely on an exclusively visual interface. Norrona’s sighted customers can independently browse,

select, and shop online without the assistance of others. However, blind persons must rely on

sighted companions to assist them in accessing and purchasing on Norrona.com.

               8. By failing to make the website accessible to blind persons, Defendant is violating

basic equal access requirements under both state and federal law.

               9. Congress provided a clear and national mandate for the elimination of

discrimination against individuals with disabilities when it enacted the ADA. Such discrimination

includes barriers to full integration, independent living, and equal opportunity for persons with

disabilities, including those barriers created by websites and other public accommodations that are

inaccessible to blind and visually impaired persons. Similarly, New York state law requires places

of public accommodation to ensure access to goods, services, and facilities by making reasonable

accommodations for persons with disabilities.

               10. Plaintiff browsed and intended to make an online purchase of the Men’s Lofoten

Gore-Tex Pro Jacket, the Men’s /29 Viking T-Shirt, and the Unisex Falketind 3-season Dome Tent

for delivery to his home on Norrona.com. However, unless Defendant remedies the numerous

access barriers on its website, Plaintiff and Class members will continue to be unable to

independently navigate, browse, use, and complete a transaction on Norrona.com.

               11. Because Defendant’s website, Norrona.com, is not equally accessible to blind

and visually-impaired consumers, it violates the ADA. Plaintiff seeks a permanent injunction to

cause a change in Norrona’s policies, practices, and procedures so that Defendant’s website will

become and remain accessible to blind and visually-impaired consumers. This complaint also
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seeks compensatory damages to compensate Class members for having been subjected to unlawful

discrimination.

                                 JURISDICTION AND VENUE

               12. This Court has subject matter jurisdiction over this action under 28 U.S.C. §

1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42 U.S.C. §

12181 et seq., and 28 U.S.C. § 1332, because this is a class action, as defined by 28 U.S.C. §

1332(d)(1)(B), in which a member of the putative class is a citizen of a different state than

Defendant, and the amount in controversy exceeds the sum or value of $5,000,000, excluding

interest and costs. See 28 U.S.C. § 133(d)(2).

               13. This Court also has supplemental jurisdiction over pursuant to 28 U.S.C. §

1367, over Plaintiff’s pendent claims under the New York State Human Rights Law, N.Y. Exec.

Law, Article 15 (Executive Law § 290 et seq.) and the New York City Human Rights Law, N.Y.C.

Administrative Code § 8-101 et seq. (“City Law”).

               14. Venue is proper in this District of New York pursuant to 28 U.S.C. §§ 1391(b)-

(c) and 144(a) because Plaintiff resides in this District, Defendant conducts and continues to

conduct a substantial and significant amount of business in this District, and a substantial portion

of the conduct complained of herein occurred in this District.

               15. Defendant is registered to do business in New York State and has been

conducting business in New York State, including in this District. Defendant maintains Brick-

and-mortar places of accommodation in this District which are subject to personal jurisdiction in

this District. Defendant also has been and is committing the acts alleged herein in this District and

has been and is violating the rights of consumers in this District and has been and is causing injury

to consumers in this District. A substantial part of the act and omissions giving rise to Plaintiff’s

claims have occurred in this District.
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                                            PARTIES

               16. Plaintiff, is and has been at all relevant times a resident of Kings County,

State of New York.

               17. Plaintiff is legally blind and a member of a protected class under the ADA, 42

U.S.C. § 12102(l)-(2), the regulations implementing the ADA set forth at 28 CFR §§ 36.101 et

seq., the New York State Human Rights Law and the New York City Human Rights Law.

Plaintiff, Pedro Martinez, cannot use a computer without the assistance of screen reader

software. Plaintiff, Pedro Martinez, has been denied the full enjoyment of the facilities, goods

and services of Norrona.com, as well as to the facilities, goods and services of Defendant’s brick

and mortar locations, as a result of accessibility barriers on Norrona.com.

               18. Defendant, Norrona Sport, Inc., is a Delaware Foreign business corporation

doing business in this State.

               19. Defendant owns and operates Norrona Stores (hereinafter, “Norrona Stores”

or “Stores”), which are a place of public accommodation.

               20. Norrona Stores provide to the public important and enjoyable goods and

services including the ability to browse and purchase high-quality Norwegian outdoor durable

and sustainable products including apparel and equipment, and related products which are

offered for sale at the Stores. Defendant also provides to the public a website known as

Norrona.com which provides consumers with access to an array of goods and services offered to

the public by Norrona Stores, including, the ability to learn about the products offered for sale at

the Norrona Store locations, make purchases for home delivery, view promotions, and obtain

information about the Stores’ location and hours – all with the click of a mouse. The

inaccessibility of Norrona.com has deterred Plaintiff from making an online purchase of the



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Men’s Lofoten Gore-Tex Pro Jacket, the Men’s /29 Viking T-Shirt, and the Unisex Falketind 3-

season Dome Tent.

               21. Defendant’s location is a public accommodation within the definition of Title

III of the ADA, 42 U.S.C. § 12181(7). Defendant’s website is a service, privilege, or advantage

that is heavily integrated with Defendant’s physical Stores and operates as a gateway thereto.

                                    NATURE OF THE CASE

               22. The Internet has become a significant source of information, a portal, and a tool

for conducting business, doing everyday activities such as shopping, learning, banking,

researching, as well as many other activities for sighted, blind and visually-impaired persons alike.

               23. The blind access websites by using keyboards in conjunction with screen-

reading software which vocalizes visual information on a computer screen. Except for a blind

person whose residual vision is still sufficient to use magnification, screen access software

provides the only method by which a blind person can independently access the Internet. Unless

websites are designed to allow for use in this manner, blind persons are unable to fully access

Internet websites and the information, products and services contained therein.

               24. For screen-reading software to function, the information on a website must be

capable of being rendered into text. If the website content is not capable of being rendered into

text, the blind user is unable to access the same content available to sighted users.

               25. Blind users of Windows operating system-enabled computers and devises have

several screen-reading software programs available to them. Job Access With Speech, otherwise

known as “JAWS” is currently the most popular, separately purchase and downloaded screen-

reading software program available for blind computer users.

               26. The international website standards organization, the World Wide Web

Consortium, known throughout the world as W3C, has published version 2.1 of the Web Content
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Accessibility Guidelines (“WCAG 2.1”). WCAG 2.1 are well-established guidelines for making

websites accessible to blind and visually-impaired persons. These guidelines are universally

followed by most large business entities and government agencies to ensure their websites are

accessible.   Many Courts have also established WCAG 2.1 as the standard guideline for

accessibility. The federal government has also promulgated website accessibility standards under

Section 508 of the Rehabilitation Act. These guidelines are readily available via the Internet, so

that a business designing a website can easily access them. These guidelines recommend several

basic components for making websites accessible, including but not limited to: adding invisible

alt-text to graphics, ensuring that all functions can be performed using a keyboard and not just a

mouse, ensuring that image maps are accessible, and adding headings so that blind persons can

easily navigate the site. Without these very basic components, a website will be inaccessible to a

blind person using a screen reader. Websites need to be accessible to the “least sophisticated” user

of screen-reading software and need to be able to work with all browsers. Websites need to be

continually updated and maintained to ensure that they remain fully accessible.

                                  FACTUAL ALLEGATIONS

               27. Defendant operates Norrona Stores which are located in New York City and

provide the ability to browse and purchase high-quality Norwegian outdoor durable and

sustainable products including apparel and equipment, and related products.

               28. Norrona.com is a service and benefit offered by Norrona in New York State

and throughout the United States. Norrona.com is owned, controlled and/or operated by Norrona

Sport, Inc.

               29. Norrona.com is a commercial website that offers products and services for

online browsing and sale that are available in Norrona Stores. The online Stores allows the user

to view and learn about the products and services offered for sale at the Norrona Store locations,
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make purchases, view promotions, and obtain information about the Stores’ location and hours,

and perform a variety of other functions.

               30. Among the features offered by Norrona.com are the following:

               (a) learning Store information including, allowing persons who wish to visit the

Stores to learn their locations, hours of operation, and phone numbers;

               (b) an online store, allowing customers to purchase high-quality Norwegian

outdoor durable and sustainable products including apparel and equipment, and related products

for delivery to their doorstep, and

               (c) learning about the company and its story, learning about career opportunities,

learning about the benefits of the products, and connecting with Norrona on social media.

               31. This case arises out of Norrona’s policy and practice of denying the blind access

to Norrona.com, including the goods and services offered by Norrona Stores through

Norrona.com. Due to Norrona’s failure and refusal to remove access barriers to Norrona.com,

blind individuals have been and are being denied equal access to Norrona Stores, as well as to the

numerous goods, services and benefits offered to the public through Norrona.com.

               32. Norrona denies the blind access to goods, services and information made

available through Norrona.com by preventing them from freely navigating Norrona.com.

               33. Norrona.com contains access barriers that prevent free and full use by Plaintiff

and blind persons using keyboards and screen-reading software. These barriers are pervasive and

include, but are not limited to: lack of alt-text on graphics, inaccessible drop-down menus, the lack

of navigation links, the lack of adequate prompting and labeling, the denial of keyboard access,

empty links that contain no text, redundant links where adjacent links go to the same URL address,

and the requirement that transactions be performed solely with a mouse.



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               34. Alternative text (“Alt-text”) is invisible code embedded beneath a graphical

image on a website. Web accessibility requires that alt-text be coded with each picture so that a

screen-reader can speak the alternative text while sighted users see the picture. Alt-text does not

change the visual presentation except that it appears as a text pop-up when the mouse moves over

the picture. There are many important pictures on Norrona.com that lack a text equivalent. The

lack of alt-text on these graphics prevents screen readers from accurately vocalizing a description

of the graphics (screen-readers detect and vocalize alt-text to provide a description of the image to

a blind computer user). As a result, Plaintiff and blind Norrona.com customers are unable to

determine what is on the website, browse the website or investigate Norrona Stores’ web pages.

               35. Norrona.com also lacks prompting information and accommodations

necessary to allow blind shoppers who use screen-readers to locate and accurately fill-out online

forms. On a shopping site such as Norrona.com, these forms include search fields to select

products, fields to select size, color, and quantity, and search fields used to fill-out personal

information, including address and credit card information. Due to lack of adequate labeling,

Plaintiff and blind customers cannot make purchases or inquiries as to Defendant’s products, nor

can they enter their personal identification and financial information with confidence and

security.

               36. Plaintiff and the class of visually-impaired encountered the following additional

specific problems when visiting Norrona.com: Using screen-reading software known as JAWS,

Plaintiff and the class of blind visitors to the Website:

      Plaintiff was unable to access the skip to content button and the search option.
       Consequently, accessing individual products was virtually impossible and at best,
       significantly time-consuming and burdensome.
      Plaintiff was unable to access the ‘Norrona’ link (which refreshes or takes the user back
       to the homepage). This link is announced as “en dash GB link graphic,” so Plaintiff did
       NOT know its purpose or destination.
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      Plaintiff was unable to access the Search symbol (🔍) at the top of the page. When
       navigating to the Search symbol, Plaintiff only heard the words “unlabeled 0 button.” He
       did NOT know the purpose or destination of this button.
      Plaintiff was unable to access the ‘See brand movie’ link in the main content region on
       the homepage. The link is completely SKIPPED OVER when navigating.
      Plaintiff was unable to access the content on the Size and Fit Guide webpage. The
       clickable tabs on this page are NOT given focus. Navigating moves focus from the last
       link in the navigation region immediately to the footer, completely SKIPPING all clickable
       content on the page.
      Plaintiff was unable to utilize the Contact us webpage to contact the company for
       assistance. While Plaintiff was able to navigate to a question and expand its answer with
       the answer key, he could NOT move focus through the expanded text to see the answer.
      Plaintiff was unable to filter products by color on collection webpages as the clickable
       color buttons are NOT given focus.
      Plaintiff was unable to access the ‘Show Reviews’ and ‘Wish List’ buttons on a product
       page as they are completely SKIPPED OVER when navigating on the page.
      Plaintiff was unable to access the ‘Size and Fit’ link on a product page. The link visibly
       scrolls the page down to reveal the associated size chart but focus does NOT follow
       accordingly. Instead, focus continues to the next accessible element below the ‘Size and
       Fit’ link previously selected. Moreover, Size and Fit guides present on product pages
       CANNOT be accurately read when using a screen reader. Clickable buttons in the ‘Size
       and Fit Guide’ section on a product page are NOT given focus.
      Plaintiff was unable to select the color of any product. Color options are presented as
       individual selectable buttons, which are NOT accessible for screen reader users. They
       are completely SKIPPED OVER when navigating on a product page. This is a critical error.
      Plaintiff was unable to select the size of any product. Size options are presented as
       individual selectable buttons, which are NOT accessible for screen reader users. They
       are completely SKIPPED OVER when navigating on a product page. This is a critical error.
      Plaintiff was unable to add any product to the shopping bag. Selecting a size is a
       prerequisite for adding a product to the shopping bag. However, since he was unable to
       select a size, he was NOT able to add any product to the shopping bag.
      It is impossible to add an item to the shopping bag in this Website. Even if Plaintiff was
       able to select a size and select the Add to Bag button, he would NOT be able to add any
       product to the shopping bag. When selecting the Add to Bag button, he would NOT
       receive a verbal notification that the product was added to the shopping bag. In fact,
       there was no notification at all. Plaintiff and other screen reader users will assume that
       the Add to Bag button does not function and that items cannot be added to the
       shopping cart. Sighted visitors to the website can see a pop-up window appear in the
       middle of the screen when selecting Add to Cart. However, focus does not move into
       this pop-up window and consequently, Plaintiff and other blind customers are not

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       aware of the pop-up window. The same was experienced with the ‘Click and Collect’
       button. This is a critical error.
      Plaintiff would NOT be able to access the suggested add-on items present under an item
       on the cart webpage. These items have a clickable ‘View’ link which is completely
       SKIPPED OVER while navigating this page.
      Plaintiff was unable to learn why he could NOT purchase the Unisex falketind 3-season
       Dome Tent. This product page displays a highlighted error message stating,
       “Unfortunately we don’t ship this product to your market due to certification needs,”
       which is NOT announced at any point for screen reader users.
Consequently, Plaintiff and other blind customers are essentially prevented from browsing or

purchasing any items on Norrona.com.

               37. Norrona.com lacks accessible image maps. An image map is a function that

combines multiple words and links into one single image. Visual details on this single image

highlight different “hot spots” which, when clicked on, allow the user to jump to many different

destinations within the website. For an image map to be accessible, it must contain alt-text for

the various “hot spots.” The image maps on Norrona.com do not contain adequate alt-text and

are therefore inaccessible to Plaintiff and other blind persons attempting to make online

purchases.

               38. Moreover, the lack of navigation links on Defendant’s website makes

attempting to navigate through Norrona.com even more time consuming and confusing for

Plaintiff and blind consumers.

               39. Norrona.com requires the use of a mouse to complete a transaction. Yet, it is

a fundamental tenet of web accessibility that for a web page to be accessible to Plaintiff and

blind people, it must be possible for the user to interact with the page using only the keyboard.

Indeed, Plaintiff and blind users cannot use a mouse because manipulating the mouse is a visual

activity of moving the mouse pointer from one visual spot on the page to another. Thus,

Norrona.com’s inaccessible design, which requires the use of a mouse to complete a transaction,

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denies Plaintiff and blind customers the ability to independently navigate and/or make purchases

on Norrona.com.

               40. Due to Norrona.com’s inaccessibility, Plaintiff and blind customers must in

turn spend time, energy, and/or money to make their purchases at an Norrona Store. Some blind

customers may require a driver to get to the Stores or require assistance in navigating the Stores.

By contrast, if Norrona.com was accessible, a blind person could independently investigate

products and make purchases via the Internet as sighted individuals can and do. According to

WCAG 2.1 Guideline 2.4.1, a mechanism is necessary to bypass blocks of content that are

repeated on multiple webpages because requiring users to extensively tab before reaching the

main content is an unacceptable barrier to accessing the website. Plaintiff must tab through

every navigation bar option and footer on Defendant’s website in an attempt to reach the desired

service. Thus, Norrona.com’s inaccessible design, which requires the use of a mouse to

complete a transaction, denies Plaintiff and blind customers the ability to independently make

purchases on Norrona.com.

               41. Norrona.com thus contains access barriers which deny the full and equal

access to Plaintiff, who would otherwise use Norrona.com and who would otherwise be able to

fully and equally enjoy the benefits and services of Norrona Stores in New York State.

               42. Plaintiff, Pedro Martinez, has made numerous attempts to complete a purchase

on Norrona.com, most recently on September 9, 2024, September 14, 2024, and September 23,

2024, but was unable to do so independently because of the many access barriers on Defendant’s

website. These access barriers have caused Norrona.com to be inaccessible to, and not

independently usable by, blind and visually-impaired persons. Amongst other access barriers

experienced, Plaintiff was unable to make an online purchase of the Men’s Lofoten Gore-Tex



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Pro Jacket, the Men’s /29 Viking T-Shirt, and the Unisex Falketind 3-season Dome Tent for

delivery to his home.

               43. Moreover, Plaintiff intends to return to the Website in the future if it becomes

accessible in order to purchase additional outdoor products for delivery to his doorstep. Plaintiff

has always enjoyed camping. He learned to love camping when he was a child, before

completely losing his sight. Since then, he has gone camping with friends and family on many

occasions. Plaintiff wanted to purchase a durable tent. In addition, with the fall rapidly

approaching, Plaintiff was looking to purchase a new jacket. Plaintiff conducted an online search

for camping equipment as well as outdoor products and apparel. His search led him to a high-

quality Norwegian outdoor brand known for its durable and sustainable products. Plaintiff liked

that Defendant’s products are made with high-quality materials that have been tested in rugged

environments to guarantee performance, are made with weather-resistant fabrics, are designed

for multi-season use and comfort in mind, are known for sleek and functional Scandinavian

designs, and that Norrona is committed to sustainability. As such, Plaintiff was eager to make

purchases on Defendant’s website. Unfortunately, Defendant’s website is not accessible, as

outlined above, and Plaintiff was unable to order any products for delivery to his home. Plaintiff

has bought similar items from other (accessible) online vendors in the past. However, since

Defendant’s products are superior, have been around for nearly a century, and are reasonably

price, Plaintiff would like to return to the website to make additional purchases of outdoor gear

and apparel, including the new products which are regularly added to the website, once the

website becomes accessible. Plaintiff goes camping at least once a year and needs to update his

equipment on a regular basis. He also needs to purchase clothing for the cold winter months and

Defendant has a wide selection that is renowned for its warmth. Unlike a brick-and-mortar

facility, a website is instantly accessible at any moment, and, thus, an inability to make a
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purchase can only be attributed to access barriers (whereas for brick-and-mortal locations it can

be attributed to proximity, travel time, etc.). See Sanchez v. Nutco, Inc., 10-CV-10107 (JPO),

2022 U.S. Dist. LEXIS 51247, at *7 (S.D.N.Y. Mar. 22, 2022) (citing Quezada v U.S. Wings,

Inc., 20 Civ. 10707 (ER), 2021 U.S. Dist. LEXIS 234057, at *4 (S.D.N.Y. Dec. 7 2021)).

Determining whether an ADA website accessibility complaint properly allege whether plaintiff

lives in “close proximity” to a specific location makes no sense when goods can be browsed,

bought, and delivered to Plaintiff’s home through a website. Likewise, factual considerations of

an intent to return regarding a physical location, such as how often the plaintiff walks by the

location, or how often they enter the facility, are not applicable. Cf. Lopez v. Arby Franchisor,

LLC, 19-CV-10074 (VSB) 2021 U.S. Dist. LEXIS 43838. at *10 (S.D.N.Y. March 8, 2021).

Plaintiff made numerous attempts to make purchases on the website during July, August and

September, 2024 without success and will definitely make purchases of additional products,

including different apparel and new products which are sold on the website and which currently

cannot be purchased by blind persons.

               44. As described above, Plaintiff has actual knowledge of the fact that

Defendant’s website, Norrona.com, contains access barriers causing the website to be

inaccessible, and not independently usable by, blind and visually-impaired persons.

               45. These barriers to access have denied Plaintiff full and equal access to, and

enjoyment of, the goods, benefits and services of Norrona.com and Norrona Stores.

               46. Defendant engaged in acts of intentional discrimination, including but not

limited to the following policies or practices:

               (a) constructed and maintained a website that is inaccessible to blind class

members with knowledge of the discrimination; and/or



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               (b) constructed and maintained a website that is sufficiently intuitive and/or

obvious that is inaccessible to blind class members; and/or

               (c) failed to take actions to correct these access barriers in the face of substantial

harm and discrimination to blind class members.

               47. Defendant utilizes standards, criteria or methods of administration that have

the effect of discriminating or perpetuating the discrimination of others.

               48. Because of Defendant’s denial of full and equal access to, and enjoyment of,

the goods, benefits and services of Norrona.com and Norrona Stores, Plaintiff and the class have

suffered an injury-in-fact which is concrete and particularized and actual and is a direct result of

defendant’s conduct.

                               CLASS ACTION ALLEGATIONS

               49. Plaintiff, on behalf of himself and all others similarly situated, seeks

certification of the following nationwide class pursuant to Rule 23(a) and 23(b)(2) of the Federal

Rules of Civil Procedure: “all legally blind individuals in the United States who have attempted

to access Norrona.com and as a result have been denied access to the enjoyment of goods and

services offered in Norrona Stores, during the relevant statutory period.”

               50. Plaintiff seeks certification of the following New York subclass pursuant to

Fed.R.Civ.P. 23(a), 23(b)(2), and, alternatively, 23(b)(3): “all legally blind individuals in New

York State who have attempted to access Norrona.com and as a result have been denied access to

the enjoyment of goods and services offered in Norrona Stores, during the relevant statutory

period.”

               51. There are hundreds of thousands of visually-impaired persons in New York

State. There are approximately 8.1 million people in the United States who are visually-

impaired. Id. Thus, the persons in the class are so numerous that joinder of all such persons is
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impractical and the disposition of their claims in a class action is a benefit to the parties and to

the Court.

                 52. This case arises out of Defendant’s policy and practice of maintaining an

inaccessible website denying blind persons access to the goods and services of Norrona.com and

Norrona Stores. Due to Defendant’s policy and practice of failing to remove access barriers,

blind persons have been and are being denied full and equal access to independently browse,

select and shop on Norrona.com and by extension the goods and services offered through

Defendant’s website to Norrona Stores.

                 53. There are common questions of law and fact common to the class, including

without limitation, the following:

                 (a) Whether Norrona.com is a “public accommodation” under the ADA;

                 (b) Whether Norrona.com is a “place or provider of public accommodation” under

the laws of New York;

                 (c) Whether Defendant, through its website, Norrona.com, denies the full and

equal enjoyment of its goods, services, facilities, privileges, advantages, or accommodations to

people with visual disabilities in violation of the ADA; and

                 (d) Whether Defendant, through its website, Norrona.com, denies the full and

equal enjoyment of its goods, services, facilities, privileges, advantages, or accommodations to

people with visual disabilities in violation of the law of New York.

                 54. The claims of the named Plaintiff are typical of those of the class. The class,

similar to the Plaintiff, is severely visually-impaired or otherwise blind, and claims Norrona has

violated the ADA, and/or the laws of New York by failing to update or remove access barriers on

their website, Norrona.com, so it can be independently accessible to the class of people who are

legally blind.
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                 55. Plaintiff will fairly and adequately represent and protect the interests of the

members of the Class because Plaintiff has retained and is represented by counsel competent and

experienced in complex class action litigation, and because Plaintiff has no interests antagonistic

to the members of the class. Class certification of the claims is appropriate pursuant to Fed. R.

Civ. P. 23(b)(2) because Defendant has acted or refused to act on grounds generally applicable to

the Class, making appropriate both declaratory and injunctive relief with respect to Plaintiff and

the Class as a whole.

                 56. Alternatively, class certification is appropriate under Fed. R. Civ. P. 23(b)(3)

because questions of law and fact common to Class members clearly predominate over questions

affecting only individual class members, and because a class action is superior to other available

methods for the fair and efficient adjudication of this litigation.

                 57. Judicial economy will be served by maintenance of this lawsuit as a class

action in that it is likely to avoid the burden that would be otherwise placed upon the judicial

system by the filing of numerous similar suits by people with visual disabilities throughout the

United States.

                 58. References to Plaintiff shall be deemed to include the named Plaintiff and

each member of the class, unless otherwise indicated.

                                FIRST CAUSE OF ACTION
   (Violation of 42 U.S.C. §§ 12181 et seq. – Title III of the Americans with Disabilities Act)

                 59. Plaintiff repeats, realleges and incorporates by reference the allegations

contained in paragraphs 1 through 58 of this Complaint as though set forth at length herein.

                 60. Title III of the American with Disabilities Act of 1990, 42 U.S.C. § 12182(a)

provides that “No individual shall be discriminated against on the basis of disability in the full

and equal enjoyment of the goods, services, facilities, privileges, advantages, or accommodations

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of any place of public accommodation by any person who owns, leases (or leases to), or operates

a place of public accommodation.” Title III also prohibits an entity from “[u]tilizing standards or

criteria or methods of administration that have the effect of discriminating on the basis of

disability.” 42 U.S.C. § 12181(b)(2)(D)(I).

               61. Norrona Stores located in New York State is a sales establishment and public

accommodation within the definition of 42 U.S.C. §§ 12181(7)(B). Norrona.com is a service,

privilege or advantage of Norrona Stores. Norrona.com is a service that is by and integrated with

the Stores.

               62. Defendant is subject to Title III of the ADA because it owns and operates

Norrona Stores.

               63. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(I), it is unlawful

discrimination to deny individuals with disabilities or a class of individuals with disabilities the

opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

or accommodations of an entity.

               64. Under Title III of the ADA, 42 U.S.C. § 12182(b)(1)(A)(II), it is unlawful

discrimination to deny individuals with disabilities or a class of individuals with disabilities an

opportunity to participate in or benefit from the goods, services, facilities, privileges, advantages,

or accommodation, which is equal to the opportunities afforded to other individuals.

               65. Specifically, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(II),

unlawful discrimination includes, among other things, “a failure to make reasonable

modifications in policies, practices, or procedures, when such modifications are necessary to

afford such goods, services, facilities, privileges, advantages, or accommodations to individuals

with disabilities, unless the entity can demonstrate that making such modifications would



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fundamentally alter the nature of such goods, services, facilities, privileges, advantages or

accommodations.”

               66. In addition, under Title III of the ADA, 42 U.S.C. § 12182(b)(2)(A)(III),

unlawful discrimination also includes, among other things, “a failure to take such steps as may

be necessary to ensure that no individual with disability is excluded, denied services, segregated

or otherwise treated differently than other individuals because of the absence of auxiliary aids

and services, unless the entity can demonstrate that taking such steps would fundamentally alter

the nature of the good, service, facility, privilege, advantage, or accommodation being offered or

would result in an undue burden.”

               67. There are readily available, well-established guidelines on the Internet for

making websites accessible to the blind and visually-impaired. These guidelines have been

followed by other business entities in making their websites accessible, including but not limited

to ensuring adequate prompting and accessible alt-text. Incorporating the basic components to

make their website accessible would neither fundamentally alter the nature of Defendant’s

business nor result in an undue burden to Defendant.

               68. The acts alleged herein constitute violations of Title III of the ADA, 42 U.S.C.

§ 12101 et seq., and the regulations promulgated thereunder. Patrons of Norrona Stores who are

blind have been denied full and equal access to Norrona.com, have not been provided services

that are provided to other patrons who are not disabled, and/or have been provided services that

are inferior to the services provided to non-disabled patrons.

               69. Defendant has failed to take any prompt and equitable steps to remedy its

discriminatory conduct. These violations are ongoing.

               70. As such, Defendant discriminates, and will continue in the future to

discriminate against Plaintiff and members of the proposed class and subclass on the basis of
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disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

accommodations and/or opportunities of Norrona.com and Norrona Stores in violation of Title

III of the Americans with Disabilities Act, 42 U.S.C. §§ 12181 et seq. and/or its implementing

regulations.

               71. Unless the Court enjoins Defendant from continuing to engage in these

unlawful practices, Plaintiff and members of the proposed class and subclass will continue to

suffer irreparable harm.

               72. The actions of Defendant were and are in violation of the ADA, and therefore

Plaintiff invokes his statutory right to injunctive relief to remedy the discrimination.

               73. Plaintiff is also entitled to reasonable attorneys’ fees and costs.

               74. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set

forth and incorporated therein, Plaintiff prays for judgment as set forth below.

                               SECOND CAUSE OF ACTION
               (Violation of New York State Human Rights Law, N.Y. Exec. Law
                            Article 15 (Executive Law § 292 et seq.))

               75. Plaintiff repeats, realleges and incorporates by reference the allegations

contained in paragraphs 1 through 74 of this Complaint as though set forth at length herein.

               76. N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory

practice for any person, being the owner, lessee, proprietor, manager, superintendent, agent, or

employee of any place of public accommodation . . . because of the . . . disability of any person,

directly or indirectly, to refuse, withhold from or deny to such person any of the

accommodations, advantages, facilities or privileges thereof.”.

               77. Norrona Stores located in New York State is a sales establishment and public

accommodation within the definition of N.Y. Exec. Law § 292(9). Norrona.com is a service,



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privilege or advantage of Norrona Stores. Norrona.com is a service that is by and integrated with

the Stores.

               78. Defendant is subject to the New York Human Rights Law because it owns and

operates Norrona Stores and Norrona.com. Defendant is a person within the meaning of N.Y.

Exec. Law. § 292(1).

               79. Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or

remove access barriers to Norrona.com, causing Norrona.com and the services integrated with

Norrona Stores to be completely inaccessible to the blind. This inaccessibility denies blind

patrons the full and equal access to the facilities, goods and services that Defendant makes

available to the non-disabled public.

               80. Specifically, under N.Y. Exec. Law § unlawful discriminatory practice

includes, among other things, “a refusal to make reasonable modifications in policies, practices,

or procedures, when such modifications are necessary to afford facilities, privileges, advantages

or accommodations to individuals with disabilities, unless such person can demonstrate that

making such modifications would fundamentally alter the nature of such facilities, privileges,

advantages or accommodations.”

               81. In addition, under N.Y. Exec. Law § 296(2)(c)(II), unlawful discriminatory

practice also includes, “a refusal to take such steps as may be necessary to ensure that no

individual with a disability is excluded or denied services because of the absence of auxiliary

aids and services, unless such person can demonstrate that taking such steps would

fundamentally alter the nature of the facility, privilege, advantage or accommodation being

offered or would result in an undue burden.”

               82. There are readily available, well-established guidelines on the Internet for

making websites accessible to the blind and visually-impaired. These guidelines have been
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followed by other business entities in making their website accessible, including but not limited

to: adding alt-text to graphics and ensuring that all functions can be performed by using a

keyboard. Incorporating the basic components to make their website accessible would neither

fundamentally alter the nature of Defendant’s business nor result in an undue burden to

Defendant.

               83. Defendant’s actions constitute willful intentional discrimination against the

class on the basis of a disability in violation of the New York State Human Rights Law, N.Y.

Exec. Law § 296(2) in that Defendant has:

               (a) constructed and maintained a website that is inaccessible to blind class

members with knowledge of the discrimination; and/or

               (b) constructed and maintained a website that is sufficiently intuitive and/or

obvious that is inaccessible to blind class members; and/or

               (c) failed to take actions to correct these access barriers in the face of substantial

harm and discrimination to blind class members.

               84. Defendant has failed to take any prompt and equitable steps to remedy their

discriminatory conduct. These violations are ongoing.

               85. As such, Defendant discriminates, and will continue in the future to

discriminate against Plaintiff and members of the proposed class and subclass on the basis of

disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

accommodations and/or opportunities of Norrona.com and Norrona Stores under N.Y. Exec.

Law § 296(2) et seq. and/or its implementing regulations. Unless the Court enjoins Defendant

from continuing to engage in these unlawful practices, Plaintiff and members of the class will

continue to suffer irreparable harm.



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               86. The actions of Defendant were and are in violation of the New York State

Human Rights Law and therefore Plaintiff invokes his right to injunctive relief to remedy the

discrimination.

               87. Plaintiff is also entitled to compensatory damages, as well as civil penalties

and fines pursuant to N.Y. Exec. Law § 297(4)(c) et seq. for each and every offense.

               88. Plaintiff is also entitled to reasonable attorneys’ fees and costs.

               89. Pursuant to N.Y. Exec. Law § 297 and the remedies, procedures, and rights set

forth and incorporated therein, Plaintiff prays for judgment as set forth below.

                                  THIRD CAUSE OF ACTION
                  (Violation of New York State Civil Rights Law, NY CLS Civ R,
                                 Article 4 (CLS Civ R § 40 et seq.))

               90. Plaintiff repeats, realleges and incorporates by reference the allegations

contained in paragraphs 1 through 89 of this Complaint as though set forth at length herein.

               91. Plaintiff served notice thereof upon the attorney general as required by N.Y.

Civil Rights Law § 41.

               92. N.Y. Civil Rights Law § 40 provides that “all persons within the jurisdiction

of this state shall be entitled to the full and equal accommodations, advantages, facilities, and

privileges of any places of public accommodations, resort or amusement, subject only to the

conditions and limitations established by law and applicable alike to all persons. No persons,

being the owner, lessee, proprietor, manager, superintendent, agent, or employee of any such

place shall directly or indirectly refuse, withhold from, or deny to any person any of the

accommodations, advantages, facilities and privileges thereof . . .”

               93. N.Y. Civil Rights Law § 40-c(2) provides that “no person because of . . .

disability, as such term is defined in section two hundred ninety-two of executive law, be

subjected to any discrimination in his or her civil rights, or to any harassment, as defined in
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section 240.25 of the penal law, in the exercise thereof, by any other person or by any firm,

corporation or institution, or by the state or any agency or subdivision.”

                94. Norrona Stores located in New York State is a sales establishment and public

accommodation within the definition of N.Y. Civil Rights Law § 40-c(2). Norrona.com is a

service, privilege or advantage of Norrona Stores. Norrona.com is a service that is by and

integrated with the Stores.

                95. Defendant is subject to New York Civil Rights Law because it owns and

operates Norrona Stores and Norrona.com. Defendant is a person within the meaning of N.Y.

Civil Law § 40-c(2).

                96. Defendant is violating N.Y. Civil Rights Law § 40-c(2) in refusing to update

or remove access barriers to Norrona.com, causing Norrona.com and the services integrated with

Norrona Stores to be completely inaccessible to the blind. This inaccessibility denies blind

patrons full and equal access to the facilities, goods and services that Defendant makes available

to the non-disabled public.

                97. There are readily available, well-established guidelines on the Internet for

making websites accessible to the blind and visually-impaired. These guidelines have been

followed by other business entities in making their website accessible, including but not limited

to: adding alt-text to graphics and ensuring that all functions can be performed by using a

keyboard. Incorporating the basic components to make their website accessible would neither

fundamentally alter the nature of Defendant’s business nor result in an undue burden to

Defendant.

                98. In addition, N.Y. Civil Rights Law § 41 states that “any corporation which

shall violate any of the provisions of sections forty, forty-a, forty-b or forty two . . . shall for each



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and every violation thereof be liable to a penalty of not less than one hundred dollars nor more

than five hundred dollars, to be recovered by the person aggrieved thereby . . .”

               99. Specifically, under N.Y. Civil Rights Law § 40-d, “any person who shall

violate any of the provisions of the foregoing section, or subdivision three of section 240.30 or

section 240.31 of the penal law, or who shall aid or incite the violation of any of said provisions

shall for each and every violation thereof be liable to a penalty of not less than one hundred

dollars nor more than five hundred dollars, to be recovered by the person aggrieved thereby in

any court of competent jurisdiction in the county in which the defendant shall reside . . .”

               100. Defendant has failed to take any prompt and equitable steps to remedy their

discriminatory conduct. These violations are ongoing.

               101. As such, Defendant discriminates, and will continue in the future to

discriminate against Plaintiff and members of the proposed class on the basis of disability are

being directly indirectly refused, withheld from, or denied the accommodations, advantages,

facilities and privileges thereof in § 40 et seq. and/or its implementing regulations.

               102. Plaintiff is entitled to compensatory damages of five hundred dollars per

instance, as well as civil penalties and fines pursuant to N.Y. Civil Rights Law § 40 et seq. for

each and every offense.

                                  FOURTH CAUSE OF ACTION
                          (Violation of New York City Human Rights Law,
                            N.Y.C. Administrative Code § 8-102, et seq.)

               103. Plaintiff repeats, realleges and incorporates by reference the allegations

contained in paragraphs 1 through 102 of this Complaint as though set forth at length herein.

               104. N.Y.C. Administrative Code § 8-107(4)(a) provides that “it shall be an

unlawful discriminatory practice for any person, being the owner, lessee, proprietor, manager,

superintendent, agent or employee of any place or provider of public accommodation, because of
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. . . disability . . . directly or indirectly, to refuse, withhold from or deny to such person, any of

the accommodations, advantages, facilities or privileges thereof.”

                105. Norrona Stores located in New York State is a sales establishment and public

accommodation within the definition of N.Y.C. Administrative Code § 8-102(9). Norrona.com

is a service, privilege or advantage of Norrona Stores. Norrona.com is a service that is by and

integrated with the Stores.

                106. Defendant is subject to City Law because it owns and operates Norrona

Stores and Norrona.com. Defendant is a person within the meaning of N.Y.C. Administrative

Code § 8-102(1).

                107. Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in refusing

to update or remove access barriers to Norrona.com, causing Norrona.com and the services

integrated with Norrona Stores to be completely inaccessible to the blind. This inaccessibility

denies blind patrons full and equal access to the facilities, goods, and services that Defendant

makes available to the non-disabled public. Specifically, Defendant is required to “make

reasonable accommodation to the needs of persons with disabilities . . . any person prohibited by

the provisions of [§ 8-107 et seq.] from discriminating on the basis of disability shall make

reasonable accommodation to enable a person with a disability to . . . enjoy the right or rights in

question provided that the disability is known or should have been known by the covered entity.”

N.Y.C. Administrative Code § 8-107(15)(a).

                108. Defendant’s actions constitute willful intentional discrimination against the

class on the basis of a disability in violation of the N.Y.C. Administrative Code § 8-107(4)(a)

and § 8-107(15)(a) in that Defendant has:

                (a) constructed and maintained a website that is inaccessible to blind class

members with knowledge of the discrimination; and/or
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               (b) constructed and maintained a website that is sufficiently intuitive and/or

obvious that is inaccessible to blind class members; and/or

               (c) failed to take actions to correct these access barriers in the face of substantial

harm and discrimination to blind class members.

               109. Defendant has failed to take any prompt and equitable steps to remedy their

discriminatory conduct. These violations are ongoing.

               110. As such, Defendant discriminates, and will continue in the future to

discriminate against Plaintiff and members of the proposed class and subclass on the basis of

disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

accommodations and/or opportunities of Norrona.com and Norrona Stores under N.Y.C.

Administrative Code § 8-107(4)(a) and/or its implementing regulations. Unless the Court

enjoins Defendant from continuing to engage in these unlawful practices, Plaintiff and members

of the class will continue to suffer irreparable harm.

               111. The actions of Defendant were and are in violation of City law and therefore

Plaintiff invokes his right to injunctive relief to remedy the discrimination.

               112. Plaintiff is also entitled to compensatory damages, as well as civil penalties

and fines under N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) for each offense.

               113. Plaintiff is also entitled to reasonable attorneys’ fees and costs.

               114. Pursuant to N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) and the

remedies, procedures, and rights set forth and incorporated therein, Plaintiff prays for judgment

as set forth below.

                                  FIFTH CAUSE OF ACTION
                                      (Declaratory Relief)




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               115. Plaintiff repeats, realleges and incorporates by reference the allegations

contained in paragraphs 1 through 114 of this Complaint as though set forth at length herein.

               116. An actual controversy has arisen and now exists between the parties in that

Plaintiff contends, and is informed and believes that Defendant denies, that Norrona.com

contains access barriers denying blind customers the full and equal access to the goods, services

and facilities of Norrona.com and by extension Norrona Stores, which Norrona owns, operates

and/or controls, fails to comply with applicable laws including, but not limited to, Title III of the

American with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et seq., and

N.Y.C. Administrative Code § 8-107, et seq. prohibiting discrimination against the blind.

               117. A judicial declaration is necessary and appropriate at this time in order that

each of the parties may know their respective rights and duties and act accordingly.

                                     PRAYER FOR RELIEF

               WHEREFORE, Plaintiff respectfully demands judgment in favor of Plaintiff and

the class and against the Defendant as follows:

   a)   A preliminary and permanent injunction to prohibit Defendant from violating the

        Americans with Disabilities Act, 42 U.S.C. §§ 12182, et seq., N.Y. Exec. Law § 296, et

        seq., and N.Y.C. Administrative Code § 8-107, et seq., and the laws of New York;

   b)   A preliminary and permanent injunction requiring Defendant to take all the steps

        necessary to make its website, Norrona.com, into full compliance with the requirements

        set forth in the ADA, and its implementing regulations, so that Norrona.com is readily

        accessible to and usable by blind individuals;

   c)   A declaration that Defendant owns, maintains and/or operates its website, Norrona.com,

        in a manner which discriminates against the blind and which fails to provide access for

        persons with disabilities as required by Americans with Disabilities Act, 42 U.S.C. §§
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        12182, et seq., N.Y. Exec. Law § 296, et seq., and N.Y.C. Administrative Code § 8-107,

        et seq., and the laws of New York;

   d)   An order certifying this case as a class action under Fed. R. Civ. P. 23(a) & (b)(2) and/or

        (b)(3), appointing Plaintiff as Class Representative, and his attorneys as Class Counsel;

   e)   An order directing Defendant to continually update and maintain its website to ensure that

        it remains fully accessible to and usable by the visually-impaired;

   f)   Compensatory damages in an amount to be determined by proof, including all applicable

        statutory damages and fines, to Plaintiff and the proposed class for violations of their civil

        rights under New York State Human Rights Law and City Law;

   g)   Plaintiff’s reasonable attorneys’ fees, expenses, and costs of suit as provided by state and

        federal law;

   h)   For pre- and post-judgment interest to the extent permitted by law; and

   i)   For such other and further relief which this court deems just and proper.

Dated: Scarsdale, New York
       October 4, 2024
                                                 SHAKED LAW GROUP, P.C.
                                                 Attorneys for Plaintiff

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